         Case 1:19-cr-00374-JMF          Document 28       Filed 11/22/19      Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------- x
                                         :
UNITED STATES OF AMERICA,
                                         :                         Index No. 19-cr-00374 (DAB)
                                         :
                     Plaintiff,
                                         :                         MOTION FOR ADMISSION
                                         :                         PRO HAC VICE
                v.
                                         :
                                         :
MICHAEL AVENATTI,
                                         :
                     Defendant.          :
                                         :
---------------------------------------- X

         Pursuant to Rule 1.3 of the Local Rules of the United States Courts for the Southern and

Eastern Districts of New York, Daniel Dubin hereby move this Court for an Order for admission

to practice Pro Hac Vice to appear as counsel for Defendant Michael Avenatti in the above-

captioned action.

         I am in good standing of the bar of the state of California and there are no pending

disciplinary proceedings against me in any state or federal court. I have never been convicted of

a felony. I have never been censured, suspended, disbarred or denied admission or readmission

by any court. I have attached the affidavit pursuant to Local Rule 1.3.

Dated:    November 22, 2019
                                               /s/ Daniel Dubin        .
                                               Daniel Dubin
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